EARNINGS

CASH DEPOT, LTD — SRL

Check/Direct Deposit Register
Check Date Range 07/01/2015 thru 08/31/2016

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TAXES DEDUCTIONS
AMOUNT AMOUNT AMOUNT
CODE DESCRIPTION HOURS/UNITS EARNED DESCRIPTION WITHHELD CODE DESCRIPTION WITHHELD
Home DIVISION is HRDWR - HARDWARE
Fast, Timothy J -642 SSN is XXX-XX-8375 Deposit Date 07/20/2015
0001 Regular Pay 68,00 1020,00 FEDERAL INCOME 55.38
0002 Overtime Pay 3.25 73.13 FEDERAL MEDICAR 15.85
FEDERAL SOCIAL 67.77
INDIANA 34.70
Porter Cty IN §.26
GROSS 71.25 1093.13 TAXES 178.98 DEDUCTIONS 0.00
PAY AMOUNT 914.17
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 08/05/2015
0001 Regular Pay 91.44 1371.15 FEDERAL INCOME 123.74
0002 Overtime Pay 7,90 177.75 FEDERAL MEDICAR 22.46
FEDERAL SOCIAL 96.03
INDIANA 49.74
Porter Cty IN 7.54
GROSS 99.31 1548.90 TAXES 299.51 DEDUCTIONS 0.00
PAY AMOUNT 1249.39
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 08/20/2015
0001 Regular Pay 80.00 1200,00 FEDERAL INCOME 283.61
0002 Overtime Pay 20.28 456.30 FEDERAL MEDICAR 35,25
0019 Bonus 700.00 FEDERAL SOCIAL 150.74
0020 On Call Pay 75,00 INDIANA 78,86
Porter Cty IN 11.95
GROSS 100.28 2431.30 TAXES 660.41 DEDUCTIONS 0.00
PAY AMOUNT 1870.89
Fast, Timothy J-642 SSNis XXX-XX-8375 Deposit Date 09/04/2015
0001 Regular Pay 90,00 1350.00 FEDERAL. INCOME 135.09
0002 Overtime Pay 8,87 199.58 FEDERAL MEDICAR 23,56
0020 On Call Pay 75.00 FEDERAL SOCIAL 100.72
INDIANA 52,24
Porter Cty IN 7.94
GROSS 98.87 1624.58 TAXES 319,52 DEDUCTIONS 0.00
PAY AMOUNT 1305.06
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 09/21/2015
0001 Regular Pay 81.35 1220.26 FEDERAL INCOME 85.51
0002 Overtime Pay 3.28 73.80 FEDERAL MEDICAR 18.76
FEDERAL SOCIAL 80.23
INDIANA 41.33
Porter Cty IN 6.26
GROSS 84.63 1294.06 TAXES 232.09 DEDUCTIONS 0.00
PAY AMOUNT 1061.96

 

Fast, Timothy J - 642

SSN is XXX-XX-8375

Deposit Date 10/05/2015

 

0001 Regular Pay 86.45 1296.75 FEDERAL INCOME 189,37
0002 Overtime Pay 27.32 614.70 FEDERAL MEDICAR 28.80
0020 On Call Pay 76.00 FEDERAL SOCIAL 123.16
INDIANA 64.18
Porter Cty IN 9.72

    

 

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CASH DEPOT, LTD — SRL

Check/Direct Deposit Register
Check Date Range 07/01/2015 thru 08/31/2016

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

January 17, 207, at1:10 PM

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_____ EARNINGS . DEDUCTIONS
oo AMOUNT AMOUNT "AMOUNT
CODE DESCRIPTION HOURS/UNITS EARNED DESCRIPTION WITHHELD CODE DESCRIPTION ‘WITHHELD
GROSS 113.77) 1986.45 “TAXES 418,23 DEDUCTIONS 9,00
. PAY AMOUNT ~ 1871.22
Fast, Timothy J-642 SSN isXXX-XX-8375 Deposit Date 10/20/2015
0001 Regular Pay 89.52 1342.80 FEDERAL INCOME 135.89
0002 Overtime Pay 12.76 287.10 FEDERAL MEDICAR 23,63
FEDERAL SOCIAL 401,05
INDIANA 52,41
Porter Cty JN 7.94
GROSS 102,28 1629,90 TAXES $20,92 DEDUCTIONS 0,00
PAY AMOUNT 1308.98
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 11/05/2015
6001 Regular Pay 64.93 | 1273.95 FEDERAL INCOME 228.29
0002 Overtime Pay 38,27 861,08 FEDERAL MEDICAR 32,05
0020 On Call Pay 75,00 FEDERAL SOCIAL 137,02
INDIANA 71.66
a _ Porter Cty IN 10.84
GROSS 123.20 2210.03 TAXES 479.76 DEDUCTIONS ~ 0,60
PAY AMOUNT 1730.27
Fast, Timothy J-642 SSN is XXX-XX-8376 Deposit Date 11/20/2015 ,
0001 Regular Pay 80.00 1200.00 FEDERAL INCOME 173.16
0002 Overtime Pay 23,48 628,30 FEDERAL MEDICAR 27,24
0020 On Call Pay 150,00 FEDERAL SOCIAL 116.45
INDIANA 60.61
Porter Cty IN 9.18
GROSS 103.48 1878.30 TAXES 386.63 DEDUCTIONS 0.00
PAY AMOUNT 1491.67
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 12/04/2015 _
0001 Regular Pay 97,65 1464.76 FEDERAL INCOME 206,45
0002 Overtime Pay 19,58 440,66 FEDERAL MEDICAR 30.45
0007 Holiday Pay 8.00 120,00 FEDERAL SOCIAL 130,22
0020 On Call Pay 75.00 INDIANA 67,94
Porter Cty IN 40,29
GROSS 128.23 2100.30 TAXES 445,35 DEDUCTIONS 0,00
PAY AMOUNT 1654.96
Fast, Timothy J-642 SSN Is XXX-XX-8375 Deposit Date 12/11/2015
0019 Bonus 7687.60 FEDERAL INCOME 263,13
FEDERAL MEDICAR 24.47
FEDERAL SOCIAL 104,63
_ INDIANA 57.38
Porter Cty IN 8.23
GROSS 1687.50 TAXES 447,84 DEDUCTIONS 0,00
. PAY AMOUNT 1239.66
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 12/21/2015
001 Regular Pay 87.99 1319.85 FEDERAL INCOME 141.06
0002 Overtime Pay 18,31 344.48 FEDERAL MEDICAR 24,43
FEDERAL SOCIAL 103,19
INDIANA 53,55
Page 2
- CASH DEPOT, LTD — SRL

Check/Direct Deposit Register
"Check Date Range 07/01/2015 thru 08/31/2016

EARNINGS TAXES DEDUCTIONS

AMOUNT . OU
WITHHELD CODE DESCRIPTION awouNt

AMOUNT .
CODE DESCRIPTION HOURS/UNITS EARNED DESCRIPTION WITHHELD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a
Porter Cty IN B41
GROSS 103.30 1664.33 TAXES 330,04 DEDUCTIONS 0.00
PAY AMOUNT 1334.29
Fast, Timiothy J-642 SSN is XXX-XX-8375 Deposit Date 01/05/2016
0001 Regular Pay 94,36 1415.40 FEDERAL INCOME 237,85
0002 Overtime Pay 28,36 | 637.88 FEDERAL MEDICAR 32.60
0007 Holiday Pay 8,00 120,00 FEDERAL SOCIAL 139,39
0020 On Call Pay 75.00 INDIANA 72,82
Porter Cty IN 11,03
GROSS 130,71 2248,28 TAXES 493,69 DEDUCTIONS 0.00
. PAY AMOUNT 1754.59
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 01/20/2016
0001 Regular Pay 80,00 1200.00 FEDERAL INCOME 168.79
0002 Overtime Pay 17.44 392.40 FEDERAL MEDICAR 26,92
0007 Holiday Pay 8,00 120,00 FEDERAL SOCIAL 110,82
0020 OnCallPay - 76,00 {NDIANA 87.61
Porter Cty IN 8.73
GROSS 105.44 1787.40 TAXES 361.87 DEDUCTIONS 0.00
i, PAY AMOUNT 1425.53
Fast, Timothy J -642 SSN is XXX-XX-8375 Deposit Date 02/05/2016
0001 Regular Pay 80,00 1200,00 FEDERAL INCOME 126.83 0070 EE Hith Ins 37.50
0002 Overtime Pay 14.97 - 336,83 FEDERAL MEDICAR 22.83
0020 On Call Pay 75.00 FEDERAL SOCIAL 97.61
INDIANA 50,68
Porter Cty IN 7.86
GROSS 94,97 1611.83 TAXES 305,51 DEDUCTIONS 37.50
PAY AMOUNT 1268.82
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 02/19/2016
0001 Regular Pay 79,32 1189.80 FEDERAL INCOME 85.17 0010 EE Hith ths 37.50
0002 Overtime Pay 1,08 24.30 FEDERAL MEDICAR 18.80
0004 Paid Time Off 8.00 120,00 FEDERAL SOCIAL - 80.39
INDIANA. 41.44
Porter Cty IN 6.27
GROSS 88.40 1334,10 TAXES 232,04 DEDUCTIONS 37.50
PAY AMOUNT 1064.56
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 03/04/2016
- 0001 Regular Pay 80.99 1214.86 FEDERAL INCOME 140.06 0010 EE Hith ins 40,00
0002 Overtime Pay 13,01. 292.73 FEDERAL MEDICAR 24.11 .
0004 Paid Time Off 8.00 120.00 FEDERAL SOCIAL 103.08
0020 On Call Pay 75,00 INDIANA §3.49
Porter Cty IN 8,10
GROSS 402,00 1702.58 | TAXES 328,84 DEDUCTIONS 40,00
PAY AMOUNT 1333,74
Fast, Timothy J -642 SSN is XXX-XX-8375 Deposit Date 03/21/2016
0001 Regular Pay "94,17 1412.56 FEDERAL INCOME 196.07 0010 EE Hith Ins 40,00
0002 Overtime Pay 26.45 588,38 FEDERAL MEDICAR 29.52
0020 On Call Pay 75.00 FEDERAL SOCIAL 126,23

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CASH DEPOT, LTD — SRL

~ Check/Direct Deposit Register
Check Date Range 07/01/2015 thru 08/31/2016

DEDUCTIONS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EARNINGS TAXES
' AMOUNT AMOUNT eo AMOUNT
CODE DESCRIPTION HOURS/UNITS EARNED DESCRIPTION WITHHELD CODE DESCRIPTION _ WITHHELD
INDIANA ~ 65.81
Porter Cty IN 9.97
GROSS 120,42 2076.93 TAXES 42760 DEDUCTIONS 40,00
PAY AMOUNT . 1608.33
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 04/05/2016 ,
0001 Regular Pay 84,39 "4266.85 FEDERAL INCOME 149.67 0010 EE Hith Ins 40.00
0002 Overtime Pay 19.56 440.10 FEDERAL MEDICAR 26.03
0004 Paid Time Off 4,00 60.00 FEDERAL SOCIAL 107.01
INDIANA §5.58
Porter Cty IN 8,42
GROSS 107,98 1765.95 TAXES 345.61 DEDUCTIONS _ 40,00
PAY AMOUNT 4380.34
Fast, Timothy J-642 SSN is XXX-XX-8B375 Deposit Date 04/20/2016
0001 Regular Pay 88.08 7321.20 FEDERAL INCOME 142.16 0010 EE Hith Ins 40,00
0002 Overtime Pay 11.57 260,33 FEDERAL MEDICAR 24.31
0004 Paid Time Off 4,00 60.00 FEOERAL SOCIAL 103.04
0020 On Gall Pay 75,00 INDIANA 63,95
. Porter Cty IN 8.17
GROSS 103.65 1716.63 TAXES 332,53 DEDUCTIONS 40,00
PAY AMOUNT 1344,00
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 05/05/2016 .
0001 Regular Pay 72.48 1087.20 FEDERAL INCOME 61.87 0010 EE Hith Ins 40,00
0002 Overtime Pay 1.43 28,43 FEDERAL MEDICAR 16.55
FEDERAL SOCIAL 66.50
INDIANA 34,02
Porter Cty IN 5.16
GROSS 73.61 1112.63 TAXES 172,80 DEDUCTIONS 40,00
PAY AMOUNT 899,83 .
Fast, Timothy J- 642 SSN is XXX-XX-8375 Deposit Date 06/20/2016
0001 Regular Pay 80,00 4200.00 FEDERAL INCOME 101.97 0010 EE Hith ins 40,00
0002 Overtime Pay 11.08 248,63 FEDERAL MEDICAR 20.43
FEDERAL SOCIAL 87.34
INDIANA 45.14
_ Porter Cty IN 6,84
GROSS 91,05 1448.63 TAXES 261.69 DEDUCTIONS 40,00
PAY AMOUNT 4146.94
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 06/06/2016
6001 Regular Pay 88.05 7320.75 FEDERAL INCOME 165.26 0010 EE Hith ins 40.00
0002 Overtime Pay 45.77 364,83 FEDERAL MEDICAR 26,54
0007 Holiday Pay 8,00 120.00 FEDERAL SOCIAL 413.50
0020 On Call Pay 78.00 INDIANA 69,03
Porter Cty IN 8,94
GROSS 111,82 1870.58 TAXES 373,27, DEDUCTIONS * 40,00
PAY AMOUNT 1467.31
Fast, Timothy J-642 SSN Is XXX-XX-8375 Deposit Date 06/20/2016
0001 Regular Pay 92,20 7383,00 FEDERAL INCOME 731.48 0010 EE Hith Ins 40,00
0002 Overtime Pay 41.66 262.36 FEDERAL MEDICAR 23,28
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January 17, 2017 at 1:10 PM Page 4

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CASH DEPOT, LTD — SRL

Check/Direct Deposit Register
Check Date Range 07/01/2015 thru 08/31/2016

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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EARNINGS TAXES DEDUCTIONS
oe a AMOUNT AMOUNT AMOUNT
CODE DESCRIPTION HOURS/UNITS EARNED DESCRIPTION WITHHELD CODE DESCRIPTION. ‘WITHHELD
FEDERAL SOCIAL 99,63
INDIANA 51,60
Porter Cty IN 7.82
GROSS 103.86 1645.36 TAXES 313.71 DEDUCTIONS 40,00
. , RAY AMOUNT 4291.64
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 07/05/2016
0001 Regular Pay ~ 92.00 1380,00 FEDERAL INCOME 128.46 0010 EE Hith Ins 40,00
0002 Overtime Pay 10.90 246,25 FEDERAL MEDICAR 22.99
FEDERAL SOCIAL 98.29
INDIANA 50,94
Porter Cty IN 7.72
GROSS 102,90 4625.25 TAXES 308.40 DEDUCTIONS 40,00
. PAY AMOUNT. 1276.85
Fast, Timothy J-642 SSN is XXX-XX-8375 Deposit Date 07/20/2016
0001 Regular Pay 74.35 ~ 4415.25 FEDERAL INCOME 169.63 0010 EE Hith Ins 40,00
0002 Overtime Pay  . 23,53 529,42 FEDERAL MEDICAR 26.97
0004 Paid Time Off 4,00 60.00 FEDERAL SOCIAL 115.30
0007 Holiday Pay 8,00 120,00 INDIANA 59.99
0020 On Cail Pay 76,00 Porter Cty IN 9.09
GROSS 109,88 1899.67 TAXES 380.98 DEDUCTIONS 40.00
_ PAY AMOUNT 1478.69
Fast, Timothy J -642 SSN is XXX-XX-8375 Deposit Date 08/05/2016
0001 Regular Pay 80,00 4200.00 FEDERALINCOME = .259.10 0003 Advance 500.00
0002 Overtime Pay 12.72 286,20 FEDERAL MEDICAR 33,95 0004 Uniform Charge 16.00
0004 Paid Time Off §2,00 780,00 FEDERAL SOCIAL 145.15
0020 On Cali Pay 76.00 INDIANA 75.88
Porter Cty IN 11,60
GROSS 144.72 2341.20 TAXES 625.58 DEDUCTIONS 516.00
PAY AMOUNT 1300.62
TOTALS FOR HAROWARE
GROSS 2716.88 47334.68 TAXES. 9580.38 DEDUCTIONS 990,00
PAY AMOUNT 36764,30
TOTALS FOR THIS REPORT
GROSS 2716.88 47334.68 TAXES 9580.38 DEDUCTIONS 990.00
PAY AMOUNT _ 36764.30
January 17, 2017 at 1:10PM Page 5

 

 
EARNINGS

CASH DEPOT, LTD.

Check/Direct Deposit Register Totals
Check Date Range 07/01/2015 thru 08/31/2016

 

 

 

 

TAXES DEDUCTIONS

; AMOUNT AMOUNT AMOUNT

CODE DESCRIPTION HOURS/UNITS EARNED DESCRIPTION WITHHELD CODE DESCRIPTION WITHHELD |
0001 Regular Pay 2197.69 32965.35 FEDERAL INCOME 4254.64 0003 Advance _ ~ 500,00
0002 Overtime Pay 399,19 8981,83 FEDERAL MEDICAR 679.48 0004 Uniform Charge 15,00
0004 Paid Time Off 80,00 1200.00 FEDERAL SOCIAL 2905.29 0010 EE Hith Ins 475.00
0007 Holiday Pay 40.00. 600,00 INDIANA 4512,32 0.00
0019 Bonus 0,00 2387,50 Porter Cty IN 228.65 0.00
0020 On Calt Pay 0.00 1200,00 0.00 0,00
2716.88 47334,68 9580,38 990.00
PAY AMOUNT 36764,30

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January 17, 2042 at 4:4SFN01637-WCG Filed 08/04/17 Page 6 of 17 Document 24-4

 
CASH DEPOT, LTD — SRL

Cumulative Hours Summary

 

 

 

 

 

 

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EMPLOYEE _ EARNING _ CURR ORS HOURS HOURS HOURS

1D - NAME CODE DESCRIPTION UNITS UNITS ONS UNITS
HOME __IS [NONE} _ —

: No Records Found 0,0000 0.0000 .  9,0000 0.0000

Totals for this Employee 0.0000 0.0000 0.0000 0.0000

TOTALS FOR 0.0000 0.0000 0,0000 0.0000

TOTALS FOR THIS EMPLOYER 0.0000 0.0000 0.0000 0.0000

Page 1

January 17,2017 at 1:11PM

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moaw

Security Fitter Criteria:

Sequence: Alpha

Fitter: Employee ID, None

Range: 000000642 to 000000642 +=, None
Daté Range: 07/01/2015 to 08/31/2016

Satellite Receivers Ltd.

Daily Hours Report
Current Period Loaded from History

 

 

 

 

 

 

Pay Start . Lun Break Out Reg Ovt Other Error
Location Department Job Day Date & Time Min. Min. = Time Hours Hours Hours Messages
Alpha; Fast, Timothy J
000000642 Fast, Timothy J
“HRDWR F SRVC SRVCTECH Mon 07/06/2015 08:00 AM 0 QO 04:00 PM 8,00
HRDWR F SRVC SRVCTECH Tue 07/07/2015 08:00 AM 0 0 04;00 Pm 8,00
HRDWR F SRYC SRVCTECH Wed 07/08/2015 08:00 AM 0 © 04:00 PM 8,00
HRDWR F SRVC SRVCTECH Thu 07/09/2015 08:00 AM 0 Q@ 04:00 PM 8,00
HROWR F SRYC SRVCTECH Fri 07/10/2015 08:00 AM 0 0 04:00 PM 8,00 .
HRDWR F SRVC SRVCTECH Fri 07/10/2015 04:00 PM 0 0 07:15 PM 3,25
Week. of 07/09/2015 40,00 3,25
HRDWR F SRVC SRVCTECH Sun 07/12/2015 06:00 PM 0 @ 10:30 PM 4,50
HRDWR F SRVC SRVCTECH Mon 07/13/2015 08:00 AM 60 0 04:30 PM = 7.50
HRDWR F SRYC SRVCTECH Tue 07/14/2015 08:00 AM 60 0 04:30 PM 7,50
HRDWR F SRYC SRVCTECH Wed 07/15/2015 08:00 AM 60 0 05:30 PM 86,50
HRDWR F SRVC SRVCTECH Thu 07/16/2015 08:00 AM 60 0 04:00 PM 7.00
HRDWR F SRYC SRVCTECH Fri 07/17/2015 09:17 AM 0 O 01:17 PM 5,00
HRDWR F SRVC SRVCTECH Fri 07/17/2015 01:17 PM 0 0 08:02 PM 6.75
Week of 07/16/2015 40,00 6.75
HRDWR F SRYC SRVCTECH Mon 07/20/2015 08:55 AM 0 0 05:01 PM 8,10
HRDWR F SRVC SRVCTECH Tue 07/21/2015 08:57 AM 0 Q 05:01 PM 8,07
HRDWR F SRVC SRVCTECH Wed 07/22/2015 08:56 AM 0 0 03:01 PM 6,08
HRDWR F SRVC SRVCTECH Thu 07/23/2015 08:55 AM 0 Q 06:00 PM 9,08
HRDWR - F SRVC SRVCTECH Fri 07/24/2015 08:55 AM 0 0 05:00 PM 8,08
Week of 07/23/2015 39,41
HRDWR F SRVC SRVCTECKH Mon 07/27/2015 08:56 AM 0 0 05:00 PM 8.07
HRDWR F SRVC SRVCTECH Tue 07/28/2015 08:50 AM 0 © 05:42 PM 8.87
HRDWR F SRVC SRVCTECH Wed 07/29/2015 08:55 AM 0 0 05:00 PM 8.08
HRDWR F SRVC ‘SRVCTECH Thu 07/30/2015 08:54 AM 0 0 05:00 PM 8.10
HRDWR F SRVC SRVCTECH Fri 07/31/2015 08:58 AM 0 0 03:54 PM 6,88
HRDWR F SRYC SRVCTECH Pri 07/31/2015 03:51 PM 0  O 05:00 PM 1,15
Week of 07/30/2015 40.00 1,15
HRDWR F SRVC SRVCTECH Mon 08/03/2015 08:53 AM 0 0 05:00 PM 8,12
HRDWR F SRYC SRVCTECH Tue 08/04/2015 08:54 AM 0 © 05:00 PM 86,10:
HRDWR F SRVC SRVCTECH Wed 08/05/2015 08;57 AM 0 OQ 10:38 PM 13,68
HRDWR F SRVC SRVCTECH Thu 08/06/2015 08:57 AM 0 0 06:15 PM 9,30
HRDWR F SRVC SRVCTECH Fri 08/07/2015 09:58 AM 0 QO 09:45 AM 0.80
HRDWR F SRVC SRVCTECH Fri 08/07/2015 09:45 AM 0 0 08:32 PM 10.77
HRDWR ¥ SRVC SRVCTECH Sat 08/08/2015 09:51 AM 0 Q 04:35 PM. 6.73
, Week of 08/06/2015 40.00 17,50
HRDWR | F SRVC SRVCTECH Sun 08/09/2015 09:21 AM 0 © 01:14 PM 3,88
HRDWR F SRVC SRVCTECH Mon 08/10/2015 08:54 AM QO © 05:18 PM 8,40
HRDWR F SRVC SRVCTECH . Tue 08/11/2015 08:57 AM 0 0 03:00 PM 6,05
HRDWR F SRVC SRVCTECH Wed 08/12/2015 08:57 AM 0 0 05:00 PM 8,08
HRDWR F SRYC SRVCTECH Thu 08/13/2015 08:56 AM 0 0 05:16 PM 6,33
HRDWR ¥ SRVC SRVCTECH Fri 08/14/2015 08:56 AM 0 Q 02:13 PM 5.29
HRDWR r PM 0 0 05:00 PM 2.78

SRVC SRVCTECH Fri 08/14/2015 02:13

 

 

December 19, 2016 at,14:36:49; -y.01637-WCG Filed 08/04/17 Page 8 of17 Document 24-4 Paget .
ae Satellite Receivers Ltd.
Seourity Fiiter.Criteria: Daily Hours Report

Sequence; Alpha Current Period Loaded from History
Filter: Employee ID, None
Range: 000000642 to 000000642, None
Date Range: 07/01/2015 to 08/31/2018
Lo "Pay Start Lun Break Out Reg  Ovt = Other_ Error
Location Department Job Day Date & Time Min. Min. Time Hours Hours Hours Messages

 

Week of 08/13/2015 40.00 2.78

 

 

 

 

 

 

HRDWR F SRVC SRVCTECH Mon 08/17/2015 08;59 AM 0 O 05:01 pM 8,03

HRDWR F SRVC SRVCTECH ‘Tue 08/18/2015 08:58 AM 0 O 05:00 PM 8.03

HRDWR F sRVC SRVCTECH Wed 08/19/2015 08:56 AM 0 0 07:25 PM 10,48

HRDWR F SRVC SRVCTECH ‘Thu 08/20/2015 08:57 AM 0 0 06:00 PM 9,05

HRDWR F SRVC SRVCTECH Fri 08/21/2015 08:57 AM 0 O O1;21 PM 4,41

HRDWR F SRVC SRVCTECH Fri, 08/21/2015 01:21 PM 9 0 05:00 PM 3.64
Week of 08/20/2015 40,00 3,64

HRDWR F SRVC SRVCTECH Mon 08/24/2015 08:57 AN 0 0 05:00 PM 8.05

HRDWR F SRVC SRVCTECH ‘Tue 08/25/2015 08:59 AM 0 O 05:00 PM 8,02

-HRDWR F SRVC SRVCTECH Wed 08/26/2015 08:58 AM 0 0 05:00 PM 8.03

HRDWR F SRYC SRVCTECH ‘Thu 08/27/2015 08:56 AN 0 © 05:04 PM 49.13

HRDWR F SRVC SRVCTECH Fri 08/28/2015 08:58 AM 0 O 04:44 PM . 7.77

HRDWR F sRVvC SRVCTECH Fri 08/26/2015 04:44 PM 0 0 05:00 PM 0,26

. HRDWR F SRVC SRVCTECH Sat 06/29/2015 12:48 PM 19 O 06:05 BM 4.97

" . Week of 08/27/2015 40,00 5.23

HRDWR F SRVC SRVCTECH Sun 08/30/2015 11:23 AM 0 O O4;21 PM 1.97,

HRDWR F SRVC SRVCTECH Mon 06/31/2015 08:58 AM 0 0 06:00 pM 8,03

HROWR  -s«*FESRVG SRVCTECH Tue 09/01/2015 08:57 AN 0 0 05:00 pM 98.05

HROWR F SRVC SRVCTECH Wed 09/02/2015 08:57 AM 0 0 05:00 PM 8.05

HRDWR F SRVC SRVCTECH Thu 09/03/2015 08:15 AN 0 0 05:20 PM 9,08

HRDWR F SRVC SRVCTECH Fri 09/04/2015 08:58 AN 0 0 01:47 PM 4,862 -

HRDWR ¥F SRVC SRVCTECH Fri 09/04/2015 01:47 PN 0 0 05:04 PM 3.28

Week of 09/03/2015 40,00 3.28

HRDWR F SRVC SRVCTECH Tue 09/08/2015 08:57 AN 0 0 05:00 PM 8.05

HRDWR F grave SRVCTECH Wed 09/09/2015 06:52 AM 0 0 05:00 PM 8.13

HRDWR F SRVC SRVCTECH ‘Thu 09/10/2015 09:02 AN 0 0 05:02 PM 98,00

HRDWR F SRYC SRVCTECH Fri 09/11/2015 08:56 AN 0 Q 05:00 PM 8.07
Week of 09/10/2015 32,25

HROWR F SRVC SRVCTECH Mon 09/14/2015 08:57 AN 0 0 05:00 pm 9.05

HRDWR F SRVC SRYCTECH ‘Tue 09/15/2015 08:57 AN 0 O 08:00 PM 11.05

HRDWR F SRVC SRVCTECH Wed 09/16/2015 08;51 AM 0 O 05:00 pM 9,15

HRDWR. F SRVC SRVCTECH ‘Thu 09/17/2015 08:54 AN 0 © 07:15 PM 10.35

HRDWR- -  SRVC SRVCTECH Fri. 09/18/2015 09;00 AM 0 O 11:24 AM 2.40 .

HRDWR F SRVC SRVCTECH Fri 09/16/2015 11:24 AN 0 0. 05:00 PM 5,60

HRDWR F SRVC SRVCTECH Sat 09/19/2015 09:30 AN 0 0 06:00 PM 8.50
Week of 09/17/2015 40.00 14,10

HRDWR F SRVC SRVCTECH Sun 09/20/2015 11:15 AN 0 0 07:06 PM 7.85

HRDWR F SRVC SRVCTECH Mon 09/21/2015 08:55 AN 0 QO 06:20 PM 9,42

HRDWR F SRVC SRVCTECH Tue 09/22/2015 08:55 AN 0 O O6:15 PM 9,33

HRDWR F SRVC SRVCTECH Wed 09/23/2015 09:00 AN 0 0 05:30 PM 8,50

HRDWR F SRYC SRVCTECH Thu 09/24/2015 08:57 AN 0. O O1;52.PM 4.90

HRDWR . F SRVC SRVCTECH Thu .09/24/2015 01:51 PM 0 0 05:00 PM 3.15

. HRDWR F SRVC SRVCTECH Fri 09/25/2015 08:56 AM 0 0 07:00 PM 10,07
Week of 09/24/2015 40,00 13,22

HRDWR F SRVC SRVCTECH Mon 09/28/2015 08:54 AM

0 0 05:00 PM 8,10

 

December 19, 2016 at, 41:36:49 cy.01637-WCG Filed 08/04/17 Page 9 of 17 Document 24-4 Page: 2
Satellite Receivers Ltd.

Daily Hours Report
Current Period Loaded from History

Security Filter Criteria:

Sequence: Alpha

Filter: Employee ID, None

Range: 000000642 to 000000642 , None
Date Range: 07/01/2015 to 08/31/2016

vo - Pay Start Lun Break Out Reg Ovt Other Error |
Location Department Job "Day Date& Time . Min, Min. Time Hours Hours Hours Messages

Alpha: Fast, Timothy J

 

 

 

 

 

HRDWR sé’: SRVC SRVCTECH ‘Tue 09/29/2015 08:54 AMO 0 05;00.pM 8,10

HRDWR F SRVG ” “SRVGTECH” Wed 09/30/2015 08:54 AM 0” = «G-s(06r15 PM 9.35

HRDWR F SRVC SRVCTECH ‘Thu 10/01/2015 08:56 AM Oo 0 05:00 PM 8.07

HRDWR F SRVC = SRVCTECH = Fri: 10/02/2015 06:56 AM 0. 0 03:19 PM 6.38

HRDWR F SRVC  ~—s SRVCTECH—s Fri: 10/02/2015 03:19 PM 0 0 05:25 PM 2.10
Week of 10/01/2015 40,00 2,10

HRDWR F SRVG SRVCTECH Mon 10/05/2015 08:53 AM Oo O 05:00 PM 8,12

HRDWR F SRVC SRVCTECH Tue 10/06/2015 08:55 AMO 0 05:05 PM 8.17

HRDWR F SRVC SRVCTECH Wed 10/07/2015 08:52 AM 0 0 05:50 PM 8,97

HRDWR F SRVC SRVCTECH ‘Thu 10/08/2015 08:00 AM 0 0 08:45 PM 12,75

HRDWR F SRVC SRVCTECH Fri 10/09/2015 07:51 AM 0 0 09:50 AM 1.99

HRDWR F SRVC SRVCTECH Fri 10/09/2015 09:50 AM 0 0 08:30 eM 10,66
Week of 10/08/2015 40,00 10.66

HRDWR F SRVC SRVCTECH. Mon 10/12/2015 08:53 AM 0 0 07;35 PM 10,70

HRDWR F SRVC -SRVCTECH ‘Tue 10/13/2015 08:53 AMO 0 05:00 PM 6.12

HRDWR F SRVC = SRVOTECH = Weds «10/14/2015 08:52 AM 0. 0 05:00 PM 8,13

HRDWR F sRVC SRVCTECH Thu 10/15/2015 08:53 AM 0 0 05:00 PM 8,12

HRDWR F sRVC SRVCTECH Fri 10/16/2015 08:54 AMO 0 01:49 PM 4.93

HRDWR F SRVC | SRVCTECH =Fri 10/16/2015 01:49 PM 0 0 06:31 PM 4,69

HRDWR F SRVC . SRVCTECH Sat 10/17/2015 09:55 AM 0 0 07715 PM 9,33
Week of 10/15/2015 40.00 14,02

HRDWR F SRVC SRVCTECH. Sun 10/18/2015 09:15 AM 0 0 21305 AM 1,83

HRDWR F SRVC SRVCTECH Mon 10/19/2015 08:56 AM 0. 0 05:00 PM 96.07

HRDWR F SRVC SRVCTECH Tue 10/20/2015 08:55 AM 0 0 05:00 PM 8,08

HRDWR F SRVC SRVCTECH Wed 10/21/2015 11:50 AM 0 0 05;00 PM 6,17

HRDWR F SRVC SRVCTECH Thu 10/22/2015 08:56 AM ‘o 0 05:00 PM 8.07

HRDWH - ® gRve SRVCTECH Fri. 10/23/2015 08:57 AM 0. 0 05:43 PM 8.78

HRDWR F SRVC SRVCTECH Fri 10/23/2015 05:43 PM so 0 09:15 PM 3.52

HRDWR F SRVC - SRVCTECH Sat 10/24/2015 08:00 AM 0 0 05:23 PM 9,38

Week of 10/22/2015 40,00 12.90

HRDWR F SRVC = SRVCTECH = Mon 10/26/2015 08:55 AMO. "9 06:06 EM 9.18

HRDWR F SRVC SRYCTECH Tue 10/27/2015 08:53 AM 0 0 07:44 PM 10,80

HRDWR F SRVC SRVCTECH Wed 10/28/2015 08:56 AM 0 0 09:30 BM 12,57

BRDWR F SRVC SRVCTECH Thu 10/29/2015 08:56 AM 0. 0 04:23 PM 7,45

HRDWR _F SRVC SRVCTECH ‘Thu 10/29/2015 04:23 PN oO. 0 07305 PM 2,70

HRDWR F Srvc SRVCTECH Fri 10/30/2015 08:56 AM 0 0 05:35 PM 8.65

- Week of 10/29/2015 40.00 11,35

HRDWR F SRVC —- SRVCTECH «= Mon 11/02/2015 08:53 AM = 0. Ss 0-s«05:00 PM—s8, 12

HRDWR F sRVC SRVCTECH Tue 11/03/2015 08:57 AN 0 Q 06:20 PM 9,38

HRDWR  —sF SRVC\... SRVCTECH Wed 11/04/2015 08:56 AM © 0 05:00 PM 98.07

HRDWR F sRvc SRVCTECH Thu 11/05/2015 08:58 AM 0. 0 05;00 PM 8,03 .

HRDWR F SRVC SRVCTECH Fri 11/06/2015. 09:57 AM 0. 0 03:22 PM 6.40

HRDWR F SRVC SRVCTECH Fri 11/06/2015 03:21 PM 0 0 07:00 pM . 3,65

HRDWR r AM =O 0 03:00 PM 6,00

 

sRyCc SRVCTECH Sat 11/07/2015 09:00
‘ Week of 11/05/2015 40,00 9.65

 

December 19, 201 at 41:38:49 _-y.01637-WCG Filed 08/04/17 Page 10 of 17 Document 24-4 Page: 3

 
| Satellite Receivers Ltd.
Security Filter Criteria; Daily Hours Report

Sequence: Alpha |
EB d Load
Filter: Employee ID, None Current Period Loaded from History

Range: 000000642 to 000000642 + , None
Date Range: 07/01/2015 to 08/31/2016

 

 

 

 

 

 

Pay Start Lun Break Out Reg _ Ovt Other Error
Location Department Job Day Date & Time Min. Min, Time’ Hours Hours Hours Messages .
Alpha: Fast, Timothy J
HRDWR F¥ SRVC — SRVCTECH Sun 11/08/2015 09:00 AM 0 0 04:20 EM 7,33
HRD#R F SRVC SRVCTECH Mon 11/09/2015 08:56 AM =O 0, 08;00 PM = 8.07
HRD#R F SRVC SRVCTECH Tue 11/10/2015 08:57 AM 0 0 05:35 PM 6,63
HRDWR F SRVC SRVCTECH Wed 11/11/2015 08:57 AM © 0 05:30 PM 8.55
HRDWR F SRVC SRVCTECH ‘Thu 11/12/2015 08:10 AM 0 O 03:35 PM 7,42. |
RRDAR F SRVC - SRVCTECH Thu 11/12/2015 03:35 PM 0 0 06:00 PM 2.41
HRDWR F SRVC srverecH Fri (11/13/2015 08:57 AM i) 0 06:00 PM 9.05
HRDWR _¥F SRVC SRVCTECH Sat 11/14/2015 09:45 AM 0 0 12:07 PM 2.37
Week of 11/12/2015. 40,00 13,83
HRDAR F SRVC SRVCTECH Mon 11/16/2015 08:58 AM i) 0 05:02 PM 8,07
HRDAR F SRVC SRVCTECH ‘Tue 11/17/2015 08:56 AM 0 0 07:25 PM 10,48
HRDWR F SRVC SRVCTBCH Wed 11/18/2015 08:56 AM 0 0 06:55 PM 9,98
HRDWR F SRVC SRVCTECH ‘Thu 11/19/2015 08:52 AM 0 0 08:20 PM 11,47
HRDWR ¥ SRVC SRVCTECH ‘Thu 11/19/2015 08:20 PM 0 0 08:30 PM 0.16
HRDWR F SRVC SRVCTECH Fri 11/20/2015 08;57 AM 0 0 06:00 9.05
Week of 11/19/2015 40,00 9,21
HRDWR F SRVC SRVCTECH Mon . 11/23/2015 08:55 AM 0 0 09:05 pM 12,17
HRDWR F SRVC SRVCTECH Tue 11/24/2015 08:56 AM 0 0 05:00 EM 8,07
HROWR F SRVC SRVCTECH Wed 11/25/2015 08:56 AM 0 0 07:55 PM 10,98
HRDAR ¥ SRVC SRVCTECH Thu 11/26/2015 - Sal & Oth Hrs: 0007 - Holiday 8,00
HRDAR F SRVC SRVCTECH Fri 11/27/2015 08:57 AM 0 0 05:43 PM =-B. 78
HRDWR F SRVC SRVCTECH Fri 11/27/2015 05:43 PM 0 0 08:30 EM 2.77
HRDWR F SRVC SRVCYECH Sat 11/28/2015 09:41 AM 0 O 05:17 PM 7,60
Week of 11/26/2015 40,00 10,37 8,00
HRDR F SRVC SRVCTECH Sun 11/29/2015 07:55 AM 0 0 04:21 PM 8,43
HRDWR F SRVC SRVCTECH Mon 11/30/2015 08:57 AM 0° 0 06:10 PM 9,22
HRDWR F SRVC SRVCTECH ‘Tue 12/01/2015 09:06 AM 0 0 05:15 PM 8,15
HRDWR F srvc SRVCTECH Wed 12/02/2015 08:56 AM 0 0 05:02 PM 8,10
HRDWR F sRVC SRVCTECH ‘Thu 12/03/2015 06:57 AM 0 0 03:03 PM 6,10
HRDWR F SRVC SRVCTECH Thu 12/03/2015 03:03 PM 0 0 - 05:03 eM 2.00
HRDWR F SRVC SRVCTECH Fri 12/04/2015 09:28 AM 0 0 02:30 PM “$03
Week of 12/03/2015 40,00 7.03
HRDWR F SRVC SRVCTECH Mon 12/07/2015 08:55 AM 0 0 06341 PM 9.77
BRDWR F SRVC SRVCTECH Tue. 12/08/2015 08:58 AM 0 0 05:03 PM 86,08
HRDWR F SRVC SRVCTECH Wed 12/09/2015 08:56 AM 0 0 05:01 PM 8,08
HRDWR F SRVC SRVCTECH Thu 12/10/2015 08:54 AM 0 0 09:00 PM 12,10
HRDWR F sRVC SRVCTECH Fri 12/11/2015 07:00 AM 0 0 08:58 AM 1.97
HRDWR F SRVC SRVCTECH Fri 12/11/2015 06:58 AM 0 0 05:15 PM ‘8.28
Week of 12/10/2015 40,00 8,28
HRDWR F sRVC SRVCYECH Mon 12/14/2015 08:56 AM = 0s—s«)s«14200 PM. 14.07,
HRDWR F SRVC SRVCTECH ‘Tue ‘12/15/2015 08:56 AM 0 0 08:32 PM 11.57
HRDWR ¥ SRVC SRVCTECH Wed 12/16/2015 00;57 AM 0° 0 08:03 PM 12.10:
HRDWR F SRVC SRVCTECH Thu 12/17/2015 06:57 AM 0 0 12:12 PM 3.26.
HRDWR F SRVC SRVCTECH ‘Thu 12/17/2015 12:12 PM 0 0 07:40 PM 7,46
HRDWR ¥ SRVC SRVCTECH Fri 12/18/2015 08;57 AM 0 © 05:01 PM 8.07

 

December 19, 2016 ats11:86149.cv01637-WCG Filed 08/04/17 Page 11 0f17 Document 24-4 Paae'4
Satellite Receivers Ltd.

Daily Hours Report
Current Period Loaded from History

Security Filter Criteria:

Sequence: Alpha

Filter: Employee ID, None

Range: 000000642 to 000000642 , None
Date Range: 07/01/2016 to 08/31/2016

 

- Pay Start Lun Break Out Req Ovt Other Error
Location Department Job Day Date & Time Min. Min. Time Hours Hours Hours Messages
Alpha; Fast, Timothy J

AMO © 08:10 PM 11,23

HRDWR F SRVC SRVCTECH Sat 12/19/2015 08:56

 

Week of 12/17/2015 40,00 26,76

 

 

 

 

 

HRDWR F SRVC SRVCTECH Mon 12/21/2015 06:58 AM 0 QO 08:27 PM 11.48
HRDWR F SRVC SRVCTECH Tue 12/22/2015 08:58 AM 0 © 05:17 PM 8,32
BRDWR F SRVC SRVCTECH Wed 12/23/2015 08:56 AM 0 0 09:11 PM 12,25
HRDWR F SRVC SRVCTECH Thy 12/24/2015 08:57 AM 0 0 04:54 PM 7.95
HRDWR F SRVC SRVCTECH Thu 12/24/2015 04:54 PM 0 0 05:02 PM 0.13
HRDWR F SRVC SRVCTECH Fri 12/28/2015 ~- Sal & Oth Hra: 0007 ~ Christma 8.00
Week of 12/24/2015 40,00 0,13 8,00
HRDWR F SRVC SRVCTECH Mon 12/28/2015 08:56 AM 0 “0 10:56 PM 14,00
HRDWR F SRVC SRVCTECH Tue 12/29/2015 08:56 AM 0 0 05:01 pM 8,08
HRDWR F SRVC SRVCTECH Wed 12/30/2015 08:56 AM 0 0 06:20 PM 9,40
HRDWR F SRVC SRVCTECH Thu 12/31/2015 08:53 AM 0 0 05:24 PM = 8,52
HRDWR F SRVC | SRVCTECH hu 12/31/2015 05:24 PMO 0 06:52 PM 1.46
RRDWR F SRVC SRVCTECH Fri 01/01/2016 - Sal 6 Oth Hrs; 0007 - New Yr 8,00
Week of 12/31/2015 40,00 1.46 8.00
HRDWR F SRVC SRVCTECH Mon 01/04/2016 08:55 AM 0 O 08:00 PM 11,08
HRDWR F SRVC SRVCTECH Tue 01/05/2016 08:57 AM 0 0 06:50 PM 9.88
HRDWR F SRVC SRVCTECH Wed 01/06/2016 08:56 AM 0 0 06:42 EM 9.77
HRDWR F SRVC SRVCTECH Thu 01/07/2016 08:56 AM 0 © 05:01 PM 8.08
HRDWR F SRVC SRVCTECH Fri 01/08/2016 08:53 AM 0 O 10:04 AM = 1,19
HRDWR F SRVC SRVCTECH Fri 01/06/2016 10:04 AM 0 Q 12:01 PM 1.94
HRDWR F SRVC SRVCTECH Sat 01/09/2016 06:53 AM 0 0 05:26 PM 8,55
Week of 01/07/2016 40.00 10,49
HRDWR F SRVC SRVCTECH Non 01/11/2016 08:00 AM 0 O 085312 PM 9.20
HRDWR F SRVC SRVCTECH Tue 01/12/2016 08:56 AM 0 0 08:03 PM 8.12
HRDWR F SRVC SRVCTECH Wed 01/13/2016 08:56 AM 0 0 07:44 PM 10,80
HRDWR F.SRVC SRVCTECH Thu 01/14/2016 08;55 AM 0 0 07:40 PM 10,75
HRDWR F SRYC SRVCTECH Fri 01/15/2016 08:56 AM 0 0 10;04 AM 1,13
HRDWR F SRVC SRVCTECH Fri 01/15/2016 10:04 AM 0 0 05;01 PM 6,95
Week of 01/14/2016 40,00 6,95
HRDWR F SRVC SRVCTECH Mon 01/18/2016 08:56 AM 0 0 05:02 PM = 8,10
HRDWR F SRYC SRVCTECH Tue 01/19/2016 06:56 AM 0 0 05:02 PM 8.10
HRDWR F SRVC SRVCTECH Wed 01/20/2016 08:56 AM 0 Q 05:12 PM 8.27
HRDWR F SRVC SRVCTECH Thu 01/21/2016 08:56 AM 0 © 06:42 PM 9.77
HRDWR F SRVC SRVCTECH Fri 01/22/2016 08:58 AM 0 O0 02:43 PM 5.76
HRDOWR F SRVC SRVCTECH Pri 01/22/2016 02:43 PM 0 0 06:29 PM 3,76
HROWR F SRVC SRYCTECH Sat 01/23/2016 10:59 AM 0 0 02:01 PM 3,03
, Week of 01/21/2016 40,00 6.79.
HRDWR _F SRVC SRVCTECH Sun 01/24/2016 12:10 PMO © 04:00 PM 3.83
HRDWR F SRVC SRVCTECH Mon 01/25/2016 08:56 AM 0 © 05:07 PM 8,18
HROWR F SRVC SRVCTECH Tue 01/26/2016 08:56 AM 0 0 07:07 PM 10.18
HRDWR F SRVC SRVCTECH Wed 01/27/2016 08:57 AM 0 0 06:01 PM 9.07
HRDWR F SRVC SRVCTECH Thu 01/28/2016 06;57 AM 0 OQ 05:41 PM 8,74
HRDWR ¥ SRVC SRVCTECH ‘Thu 01/28/2016 05:41 PM 0 0 05:48 PM 0.11

 

December 19, 201¢4t44:36:48cv.01637-WCG Filed 08/04/17 Page 12 of 17 Document 24-4 Page: §

 
Satellite Receivers Ltd.
Security Fiter Criteria: Daily Hours Report

Sequence: Alpha
Current Period Loaded
- Filter: Employee 1D, None er oaded from History

Range: 000000642 to 000000642 =, None
Date Range: 07/01/2016 to 08/31/2016

Pay Start tun Break Out Reg Ovt Other Error
Location Department. Job Day Date & Time Min. Min. Tine Hours Hours Hours Messages

 

Alpha: Fast, Timothy J
0 0 05:01 PM 8.07

 

 

 

 

 

 

HRDWR F SRVC SRVCTECH Fri 01/29/2016 08:57 AM

. woo oe a oo ~ Week of 01/28/2016 40,00 8.18

HRDWR F SRVC SRVCTECH Mon 02/01/2016 08:56 AM 0 O 05:02 PM 8,10

HRDWR F SRVC SRVCTECH Tue 02/02/2016 08:56 AM 0 0 05:02 PM 8,10

HROWR F SRVC SRVCTECH Wed 02/03/2016 08;55 AM 0 0 05:02 PM 8,12

HRDWR F SRVC SRVCTECH ‘Thu 02/04/2016 08:54 AM 0 0 05:26 PM 8.53

HRDWR F sRyc SRVCTECH Fri 02/05/2016 08:56 AM 0 0 04:05 PM 7,15

ARDWR F SRVC SRVCTECH Fri 02/05/2016 04:05 PM 0 0 05:10 PM 1,08
Week of 02/04/2016 40,00 1,08

HRDWR F SRVC SRVCTECH Mon 02/08/2016 08:56 AM 0 0 07:22 PM 10,43

HRDWR & sRVC SRVCTECH ‘ue 02/09/2016 ~ Sal & Oth Hrs: 0004 - PTO~pd/o 8,00

HRDWR ¥ SRVC SRVCTECH ‘Thu 02/11/2016 08:57 AM 0 6 08:20 PM 11,38

HRDWR F SRVC SRVCTECH Fri 02/12/2016 08:56 AM 0 0 05:01 PM 8,08
Week of 02/11/2016 29,89 8,00

HRDWR F SRVC SRVCTECH Mon 02/15/2016 08:56 AM 0 0 06:22 PM 9,43

HRDWR F SRVC SRVCTECH Tue 02/16/2016 08:56 AM 0 0 05:01 PM 8,08

HRDWR F SRVC SRVCTECH Wed 02/17/2016 08:56 AM 0 0 05:35 PM 8,65

HRDWR ‘F SRVC SRVCTECH Thu 02/16/2016 08:54 AM 0 0 05;00 PM 8,10

HRDWR F SRVC SRVCTECH Fri 02/19/2016 - Sal & Oth Hrs; 0004 - PTO-pd/o 8,00

BRDWR F SRVC SRVCTECH Sat 02/20/2016 08:56 AM 0 0 02:40 PM 5,74

RRDWR F SRVC SRVCTECH Sat 02/20/2016 02:40 PM 0 0 06:39 PM 3.98
Week of 02/18/2016 40,00 3.98 8,00

‘HRDWR -F SRVC SRVCTECH Sun 02/21/2016 08:56 AM 0 0 06:30 PM 9,57

HROWR F SRYC SRVCTECH Mon 02/22/2016 08;57 AM 0 0 05:02 PM 8,08

. HRDWR F SRVC SRVCTECH ‘ue 02/23/2016 08:56 AM 0 0 06346 PM 9,83

HRDWR F SRVC SRVCTECH Wed 02/24/2016 08:58 AM 0 0 12:00 PM 3,03

HRDWR F SRVC —s SRVCTECH = Thu 02/25/2016 08:57 AM = 00s 5:10 PM 8.22

HRDWR F SRVC SRVCTECH Fri 02/26/2016 06:57 AM 0 0 10:13 AM 1,27

HROWR F SRYC SRVCTECH Fri 02/26/2016 10:13 AM 0 OQ 07:15 PM 9,03
Week of 02/25/2016 40,00 9.03

HRDWR F SRVC SRVCTECH Mon 02/29/2016 08:56 AM 0 © 07:21 PM 10,42

HRDWR F SRYC SRVCTECH ‘Tue 03/01/2016 06:56 AM 0 0 07:17 PM 10,35

HRDWR F SRYC SRVCTECH Wed 03/02/2016 06:56 AM 0 0 06:35 PM 9,65

HRDWR F SRVC SRVCTECH Thu 03/03/2016 08:57 AM 0 0 06:31 PM 9, 58

HRDWR F SRVC SRVCTECH Thu 03/03/2016 06;31 PM 0 © 06:36 PM 2.07

HRDWR F SRVC SRVCTECH Fri 03/04/2016 08:57 AM 0 O 09:01 PM ~ 12,07
Week of 03/03/2016 40,00 14,14

HRDWR F SRVC SRVCTECH Mon 03/07/2016 08:56 AM 0 0 08:33 PM 11,62

HRDWR F SRVC SRVCTECH Tue 03/08/2016 08:57 AM 0 0 05:02 PM 8,08

HRDAR F SRYC SRYCTECH Wed 03/09/2016 08:56 AM 0 0 05:02 PEM 8,10

HRDWR F SRYC SRVCTECH Thu 03/10/2016 08:56 AM 0 0 05:01 PM 8,08

HRDWR F SRVC SRVCTECH Fri 03/11/2016 08:56 AM 0 0 01:03 PN 4,12

HRDWR Fr SRYC SRVCTECH Fri 03/11/2016 01;03 PM 0 0 05:17 PM 4.23

HRDWR F SRVC SRVCTECH Sat 03/12/2016 09:51 AM 0 0 05:38 PM 7,78

 

 

December 19, 2016:eh14:9649.cv-01637-WCG Filed 08/04/17 Page 13 of 17 Document 24-4 Page'6
. Satellite Receivers Ltd.
Security Filter Criteria:

Sequence: Alpha ‘ Daily Hours Report
: |

Cc t Period Load
Filter: Employee ID, None urrent Period Loaded from History

Range: 000000642 to 000000642 , None
Date Range: 07/01/2015 to 08/31/2016

 

 

 

 

 

 

 

Pay Start Lun Break Out Reg Ovt Other Error
Location Department Job Day Date & Time Min. Min. Time Hours Hours Hours Messages
Week of 03/10/2016 40,00 12,04
HRDWR F SRYC SRVCTECH Sun 03/13/2016 08:59 AM 0 0 03:50 PM 6.85
HRDWR -- F SRVC SRVCTECH Mon 03/14/2016 08:56 AM 0 0 06:36 PM 9,67
HRDWR F SRVC SRVCTECH Tue 03/15/2016 08:57 AM 0 0 05301 PM 8.07
HRDAR F SRYC SRVCTECH Wed 03/16/2016 08:57 AM 0 0 05:02 PM 98.08
HRDWR F SRVC SRVCTECH Thu 03/17/2016 08:56 AM 0 0 04:16 PM 7,33
HRDWR ¥ SRVC SRVCTECH Thu 03/17/2016 04:16 PM 0 0 06:52 PM 2,60
HRDWR F SRVC SRVCTECH Fri 03/18/2016 08:56 AM 0 0 10300 PM 13,07
Week of 03/17/2016 40,00 15.67
HRDWR F SRYC SRVCTECH Mon 03/21/2016 08:56 AM 0 0 05:05 pM 6,15
KRDWR F SRVC = SRVCTRCH = Tue) (03/22/2016 08:57 AM 0 0 05:01 PM 8.07
KRDWR F SRYC SRVCTECH Wed 03/23/2016 08:56 AM 0 0 05:00 PM 8,07
HRDWR ¥ SRYC SRVCTECH Thu 03/24/2016 08:57 AM 0 0 07346 PM 10,82
HRDWR F SRYC SRVCTECH Fri 03/25/2016 08;55-AM 0 0 O041;48 PM 4,89
HRDWR F SRYC SRVCTECH Fri 03/25/2016 01:48 PM 0 O 05342 PM 3.89
Week of 03/24/2016 | 40,00 3,99
HRDWR F SRVC SRVCTECH Mon 03/28/2016 08:57 AM 0 0 05:28 PM 8,52
HRDWR F SRYC SRVCTECH Tue 03/29/2016 08:57 AM 0 O 05:00 pm 8,05
HRDWR F SRYC SRVCTECH Wed 03/30/2016 - Sal & Oth Hrs: 0004 - PTO-pd/o = 4.00
HRDWR F SRVC SRVCTECH Wed 03/30/2016 07:56 AM 0 OQ 12:01 PM 4.08
HRDWR F SRVC SRVCTECH ‘Thu 03/31/2016 08:56 AM 0 O 05:16 PM 8,33
HRDWR F SRVC SRVCTECH Fri 04/01/2016 08:56 AM 0 0 05:01 PM 8.08
Week of 03/31/2016 37.06 4,007 ,
HRDWR F SRVC SRVCTECH Mon 04/04/2016 08:56 AM 0 O 05:44 PM 8,80
HRDWR FP SRVC SRVCTECH ‘Tue 04/05/2016 08:56 AM 0 0 06:01 PM 8.08
HRDWR ' F SRVC SRVCTECH Wed 04/06/2016 08:56 AM 0 O 08:28 PM 11,53
HRDWR F SRYC SRVCTECH Thu 04/07/2016 ~ Sal & Oth Hrs: 0004 - Pt0-pd/o 4,00
HRDWR F SRVC SRVCTECH Thu 04/07/2016 07356 AM 0 0 12:01 PM 4,08
HRDWR ~ F SRVC SRVCTECH Fri 04/08/2016 08;58 AM 0 Q 02:01 PM 5,05
HRDWR F SRVC SRVCTECH Sat 04/09/2016 09:13 AM 0 QO 11340 AM 2,46
HRDWR F SRYC SRYCTECH Sat 04/09/2016 11:40 AM 0 0 02:00 PM 2.32
Week of 04/07/2016 40,00 2,32 4,00°
HROWR F SRVC SRVCTECH Sun 04/10/2016 09:24 AM 0 0 05:00 PM 7,60 ,
HROWR F SRVG SRVCTECH Mon 04/11/2016 08:56 AM 0 0 08:00 PM 8,07
HRDWR F sRvC SRVCTECH Tue 04/12/2016 08:56 AM 0 0 05:01 PM 98,08
HROWR F SRVC SRVCTECH Wed 04/13/2016 08:56 AM 0 0 05:00 PM 8.07
HRDWR FSRVC | SRVCTECH Thu 04/14/2016 09:00 AM =O O O5:11 PM 8,18
HRDWR F SRVC SRVCTECH Thy 04/14/2016 05:11 PM 0 0 06:23 PM 1.20
HRDWR F SRYC SRVCTECH Fri 04/15/2016 08:57 AM 0 0 05;00 PM 8,08
Week of 04/14/2016 40,00 9.25
HRDWR F SRYC SRVCTECH Mon 04/18/2016 08:57 AM 0 O© 05:02 EM 8.08
HRDWE FSRVC SRVCTECH Tue 04/19/2016 08:55 AM =O 0 05:06 PM 8,18
HRDWR F SRYC SRYCTECH Wed 04/20/2016 08:56 AM 0 0 05:00 PM 8,07"
HRDWR F SRYC SRVCTECH Thu 04/21/2016 08:56 AM 0 0 05:05 PM 8,15
Week of 04/21/2016 32,48
HRDWR F SRVC ‘ SRVCTECH Mon 04/25/2016 08:56 AM. 0 0 05:09 PM 8,22

 

December 19, 2016-at14:36:48 -.91637-WCG Filed 08/04/17 Page 14 of 17 Document 24-4

Page: 7

 
oo Satellite Receivers Ltd.
Security Filter Criteria: ~~" Daily Hours Report

Sequence: Alpha oo '
Current Period Load
Filter: Employee ID, None urrent Petiod Loaded from History

Range: 000000642 to 000000642  , None
Date Range: 07/01/2015 to 08/31/2016

Pay Start Lun Break Out Reg Ovt-_—= Other’ Error
Location. Department Job Day Date & Time Min, = Min. Time Hours Hours Hours Messages

 

Alpha: Fast, Timothy J

 

 

 

 

 

 

HRD#R F SRVC SRVCTECH fue 04/26/2016 08:57 AM 0 0 08:00 EM 8.05
HRDWR oF SRVC* —- SRVCTECH ~ Wed 04/27/2016 08:56AM" 0 ‘0 05100 PM 8,07
HRDWR F sRvC SRVCTECH Thu 04/26/2016 08:56 AM 0 0 05:01 PM 8,08
HRDWR F SRVC SRVCTECH Fri 04/29/2016 08:56 AM =O 0 02:31 EM 5,58
HRDWR F SRVC SRVCTECH Sat 04/30/2016 01:47 PM 0 0 03:47 BM 2,00
HRDWR F SRVC SRVCTECH Sat 04/30/2016 03:47 PM 0 0 04355 BM 1,13
Week of 04/28/2016 40,00 1.13
HRDWR F SRVC  -SRVCTECH «= Sun. 05/01/2016 12:11 PM =O 0 03:36 PM 3,42
HRDWR F SRVC SRVCTECH Mon 05/02/2016 08:57 AM 0. 0 05:01 PM 8,07
HRDWR F SRVC SRVCTECH Tue 05/03/2016 08:57 AM 0 0 05:00 PM 8,05
HRDWR F SRVC SRVCTECH Wed 05/04/2016 06:54 AM =O. 0 06:00 PM 11,10
HRDWR F SRVC SRVCTECH Thu 05/05/2016 08:56 AM = 0 0 06:17 PM 9,36
HRDAR F srve SRVCTECH Thu 05/05/2016 06:17 PM 0 0 08:10 PM 1,87
HRDWR F sSRVC SRVCTECH Fri 06/06/2016 08:55 AM 0 0 06:02 PM 8,12
, Week of 05/05/2016 40.00 9,99
HRDWR F SRVC SRVCTECH Mon 05/09/2016 08:56 AMO. 0 04:33 PEM 7.62
HRDWR F sRvC SRVCTECH ‘tue 05/10/2016 08:56 AM =O 0 05:09 PM 6.22
HRDWR F SRVC SRVCTECH Wed 05/11/2016 07:57 AM 0 0 05:00 PM 9,05
HRDWR F sRvC SRVOTECH Thu 05/12/2016 08:56 AMO. 0 05:00 BM 8,07
HROWR F SRVC SRVCTECH Fri 05/13/2016 08:56 AM 0 0 03:58 PM 7,04
HRDWR F SRVC SRVCTECH Fri - 05/13/2016 03:58 PMO 0 05:02 PM 1,06
Week of 05/12/2016 40,00 1,06
HRDWR F SRVC SRVCTECH Mon 05/16/2016 06:57 AM =O. 0 08:26 PM 8,48
HRDWR Fr SRVC SRVCTECH Tue 06/17/2016 08:56 AM 0 0 05:05 PM 8.15
HRDWR F SRVC SRVCTECH Wed 05/18/2016 08:56 AM 0 0 03:31 PM 6.58
HRDWR F SRVC SRVCTECH Thu 05/19/2016 08:56 AM 0 0 05:02 PM 8.10
HRDWR F SRVC SRVCTECH Fri 05/20/2016 08:56 AM 0 0. 05:04 PM 8,13
HRDWR F SRVC SRVCTECH Sat 05/21/2016 09:27 AM =O 0 10:00 AM 0.86
HRDWR F SRVC SRVCTECH Sat 05/21/2016 10:00 AM 0 0 02:33 PM 4.54
Week of 05/19/2016 40,00 4,54
HROWR F SRVC SRVCTECH Sun 05/22/2016 08:55 AM 0 05:35 PM 8,67
HRDWR “F SRVC SRVCTECH Mon 05/23/2016 08:57 AM =O 0 05:00 PM = 8,05
HRDWR F SRVC SRVCTECH ‘Tue 05/24/2016 08:53 AM 0 0 05:00 PM 8,12
RRDWR F SRVC - SRVCTECH Wed 05/25/2016 08:56 AM 0. 0 05:01 PM 8,08
HRDWR F SRVC SRVCTECH Thu 05/26/2016 08:59 AM = 0. 0 04:04 EM 7.08
HRDWR F SRVC | —s SRVCTECH «= Thu (05/26/2016 04:04 PM =O 0 07313 PM 3,15
HRDWR F SRVC SRVCTECH fri 05/27/2016 08:56 AM =O 0 05301 PM 8,08
, Week of 05/26/2016 40,00 11,23
HRDWR F SRVC SRVCTECH Mon 06/30/2016 - Sal 6 Oth Hrs: 0007 ~ Holiday 8.00
HRDWR F SRVC SRVCTECH ‘Tue 05/31/2016 08:57 AM 0 0 05:00 PM 8,08
HROWR F SRVC SRVCTECH Wed 06/01/2016 08:57 AM = 0 0 05:00 PM = 8,08
HRDWR —SséFF- SRC SRVCTECH Thu 06/02/2016 08:57 AM sO. 0 05300 PM 8.05
HRDWR F SRVC SRVOTECH Fri 06/03/2016 08:55 AM 0 0 05:01 PM 8,10 oo
Week of 06/02/2016 32.25 8,00

HROWR - F SRVC SRVCTECH Mon 06/06/2016 08:56 AM Q 0 05:04 PM 8,13

9 96; , : Document 24-
December 19, 2048.8 14:9649 ...01637-WCG Filed 08/04/17 Page 150f17 Document 24-4 "**
Security Filter Criteria:

Sequence: Alpha
Filter: Employee ID, None

Satellite Receivers Ltd,

Daily Hours Report

Current Period Loaded from History

 

 

 

 

 

 

Range: 000000642 to 000000642 , None
Date Range: 07/01/2016 to 08/31/2016
Pay Start Lun Break Out Reg Ovt Other Error
Location Department Job . Day Date & Time Min, . Min. Tune Hours Hours Hours Messages.
Alpha: Fast, Timothy J
HRDWR F SRVC SRVCTECH Tue 06/07/2016 08:56 AM 0 0 05:05 PM 8,15
HRDWR F SRVC-~-——SRVCTECH —— Wed —06/0872016-067 57--AM---——0--— 0-0 5 03 PM FLO ar ee
HRDWR F SRVC SRVCTECH: Thu 06/09/2016 08:56 AM 0 O 07:18 PM 10,37
BRDWR F SRVC —s SRVCTECH =—s Fri-:06/10/2016 08:56 AM 0 0 O2:11 PM 5,25
HRDWR F SRVC SRVCTECH Fri 06/10/2016 02:11 PM 0 0 05:04 PM 2.88
HRDWR F SRVC SRVCTECH Sat 06/11/2016 09;39 AM 0 0 06:26 PM 8.78
a Week of 06/09/2016 40,00 11.66
HRDWR F SRVC SRVCTECH Sun 06/12/2016 08:52 AM 0 0 12:38 PM 3,77
HRDWR F SRVC SRVCTECH Mon 06/13/2016 08:57 AM =O. 0 05:02 PM 8,08
HRDWR F SRVC SRVCTRCH ue 06/14/2016 08:56 AM 0 0 05:01 PEM 8,08
HRDWR F SRVC SRVCTECH Wed 06/15/2016 08:56 AM 0 0 05:00 PM 8,07
HRDWR F SRYC SRVCTECH Thu 06/16/2016 06:59 AM 0 0 08:59 PM 12,00
HRDWR F SRVC SRVCTECH Thu 06/16/2016 08:59 PM 0 0 09:08 PM 0,15
HRDWR F SRVC SRVCTECH Fri 06/17/2016 08;55 AM 0 0 05:00 PM 8.08
Week of 06/16/2016 40,00 8,23
HRDWR F SRVC SRVCTECH Mon 06/20/2016 08:55 AM 0 0 05:00 PM 8,08
HRDWR F SRVC SRVCTECH Tue 06/21/2016 08:56 AM 0 0 05:00 PM 8,07
HRDWR F SRVC SRVCTECH Wed 06/22/2016 08:56 AM 0 0 05:04 PM 8,13
HRDWR PF SRVC SRVCTECH Thu 06/23/2016 08:55 AM 0 0 05:59 PM 9,07
HRDWR F SRVC SRVCTECH Fri 06/24/2016 08:57 AM 0 0 03:35 PM 6,65
HRDWR F SRVC SRVCTECH Fri 06/24/2016 03:35 PM 0. 0 06310 PM 2,57
Week of 06/23/2016 40,00 2.57
ARDWR F SRVC SRVCTECH. Mon 06/27/2016 08:53 AM 0 0 10:29 PM 13.60
HRDAR F SRVC SRVCTECH Tue 06/28/2016 08357 AM 0 0 05:30 PM 8,55
HRDWR F SRVC SRVCTECH Wed 06/29/2016 06:56 AM 0 0 05:11 PM 6.25
RRDWR F SRVC SRVCTECH Thu 06/30/2016 08:56 AM 0 0 06:32 PM 9,60
BRDWR F SRYC SRVCTECH Thu 06/30/2016 06:32 PM 0 0 06:38 PM 0.10
HRDWR F SRVC SRVCYTECH Fri 07/01/2016 08:56 AM 0 0 06:58 PM 10.03
HRDWR F SRVC SRVCTECH Sat 07/02/2016 09:31 AM 0 0 07323 PM 9,87
Week of 06/30/2016 40,00 20,00
HRDWR .F SRYC SRVCTECH Sun 07/03/2016 08:54 AM 0 0 05307 PM 8,22
HRDWR F SRYC SRVCTECH Mon 07/04/2016 ~ Sal & Oth Hrs: 0007 ~- 4th of J 8.00
HRDWR F sRVC SRVCTECH Mon 07/04/2016 06:52 AM 0 QO 12:00 PM 3,13
HRDWR F SRVC SRVCTECH Tue 07/05/2016 06:56 AM ) 0 05:00 PM 8.07
HRDWR F SRVC SRVCTECH Wed 07/06/2016 08:56 AM 0 0 05:00 PM 8,07
HRDWR F SRVC SRVCTECH ‘Thu 07/07/2016 08;56 AM 0 0 05:00 PM 8,07
HRDWR F SRVC SRVCTECH Fri 07/08/2016 08:56 AM = 0 0 01:22 PM 4,44
HRDWR F SRVC SRVCTECH Fri 07/08/2016 01:22 PM 0 - 0 08:00 PM 3.63
Week of 07/07/2016 40,00 3,63 8,00
HRDWR F SRVC SRVCTECH Mon 07/11/2016 08:57 AM 0 0 05:00 PM 8,05
HRDWR F SRVC SRVCTECH ‘Tue 07/12/2016 08:56 AM 0 QO 05:01 PM 8,08
HRDWR F SRVC SRVCTECH Wed 07/13/2016 - Sal & Oth Hrs: 0004 - PTO-pd/o 4,00
HRDWR F SRVC SRVCTECH Wed 07/13/2016 08:57 AM 0 O 01:01 PM 4.07
HRDWR F sRvc SRVCTECH Thu 07/14/2016 08:57 AM 0 Q 05:00 PM 8.05
HRDWR F SRVC SRVCTECH fri 07/18/2016 08:56 AM 0 0 03:02 PM 6.10

 

~ December 19, 2016 at 11:36:49

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Security Filter Criteria:
Sequence: Alpha
Filter. Employee ID, None

 

Satellite Receivers Ltd.

Daily Hours Report
Current Period Loaded from History

 

 

 

 

Range: 000000642 to 000000642 , None
Date Range: 07/01/2015 to 08/31/2016
Pay Start Lun Break ~ Out Reg Ovt Other Error
Location Department Job Day Date & Time Min, Min. Time Hours Hours Hours Messages
Week of 07/14/2016 34,35 4,00
HRDWR F SRVC SRVCTECH Mon 07/18/2016 08:56 AM 0 0 05:00 PM 8.07
ARDWR  F.SRYC SRVCTECH Tue 07/19/2016 08:57 AM 0. 0.05333 PM. 8.60. Ass
HRDWR F SRVC SRVCTECH Wed 07/20/2016 08:56 AM 0 0 05:00 PM 8.07
HRDER _F SRVC SRVCTECH ‘Thu 07/21/2016 08;56 AM 0 0 05:01 PM 8.08
HRDAR F SRVC SRVCTECH Fri 07/22/2016 08:56 AM 0 0 04:07 PM 7,18
HRDWR F SRYC SRVCTECH fri 07/22/2016 04:07 PM 0 0 07:52 PM 3.75
HRDWR F SRYC SRVCTECH Sat 07/23/2016 06:57 AM 0 0 02:14 PM 5.28
Week of 07/21/2016 40,00 9,03
HRDWR F SRVC SRVCTECH Sun 07/24/2016 '06;57 AM 0 0 05:00 PM 8.05
HRDWR F SRVC SRVCTECH Mon 07/25/2016 08:57 AM 0 0 05:01 PM 6.07
HRDWR F SRVC SRVCTECH Tue 07/26/2016 08:56 AM 0 0 08;01 PM 8.08
HRDWR F SRVC SRVCTECH Wed 07/27/2016 08:56 AM 0 0 05:00 PM 8,07
HRDWR F'SRVC = SRVCTECH = Thu 07/28/2016 08158 AM 0 0 O4:41 PM = 7.73
HRDWR F SRVC SRVOTRCH Thu 07/28/2016 04:41 PM 0 0 06:20 PM 1,64
HRDWR F SRYC ‘SRVCTECH © Fri 07/29/2016 08:57 AM =O 0 21:00 AM 2,05
HRDWR F SRYC SRVCTECH Sat 07/30/2016 - Sal & Oth Hrat 0004 ~ PTO-pd/o : 52.00
Week of 07/28/2016 40,00 3,69 52,00
000000642 = Fast, Timothy Emp Total: ###,¢4 399.19 120.00
1 employees Grand Yotals; 2197.69 399.19 120,00

 

 

December 19, 2016.at 4

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